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          Exhibit	  DD	  
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                                                                                  Waco Regional     12/22/22
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                                                                                                        | Google Flights




         One way                     1           Economy


                         …
              San Francis…                                    …
                                                     Waco Regi…                             Fri, Dec 30


          All filters        Stops         Fly toAirlines
                                                  DFW for $193 Bags                       Price              Times                Emissions                 C
                                           Change airport


         Track prices            Dec 30                                                                  Date grid                     Price graph




                     Prices are currently typical for your trip.




All flights
Prices include required taxes + fees for 1 adult. Optional charges and bag fees may apply.                                                Sort by:


                    6:00 AM                                                                                                            $518
                    San Francisco International Airport (SFO)
                                                                                                           Select flight

                    Travel time: 3 hr 27 min

                    11:27 AM
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   1/15
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                                                                                   Waco Regional     12/22/22
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                                                                                                         | Google Flights

                       Dallas/Fort Worth International Airport (DFW)

                    American AA 1198 · Economy · Airbus A321

                        Average legroom (30 in)
                        Wi-Fi for a fee
                        In-seat power & USB outlets
                        Stream media to your device
                        Carbon emissions estimate: 174 kg


                    1 hr 44 min layover · Dallas (DFW)


                       1:11 PM
                       Dallas/Fort Worth International Airport (DFW)

                       Travel time: 49 min

                       2:00 PM
                       Waco Regional Airport (ACT)

                    American AA 4980 · Economy · Canadair RJ 700
                    Plane and crew by Skywest Airlines as American Eagle
                    Often delayed by 30+ min

                        Average legroom (31 in)
                        Wi-Fi for a fee
                        In-seat power & USB outlets
                        Stream media to your device
                        Carbon emissions estimate: 50 kg



                     224 kg CO2
                     +28% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   2/15
12/14/22, 1:21 PM                         Case 1:23-cv-00822-ADA Document
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                                                                                   Waco Regional     12/22/22
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                    2:00 PM         11:31 PM                                                                                           $518
                    SFO             ACT

                    1 stop · 7 hr 31 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    10:00 AM          7:35 PM                                                                                         $550
                    SFO               ACT

                    1 stop · 7 hr 35 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    9:00 AM         7:35 PM                                                                                           $523
                    SFO             ACT

                    1 stop · 8 hr 35 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    8:55 AM         7:35 PM                                                                                           $554
                    SFO             ACT

                    2 stops · 8 hr 40 min · American · Operated by Skywest Airlines as American E…                    249 kg CO2
                                                                                                                       +43% emissions

                    8:55 AM         7:35 PM                                                                                           $554
                    SFO             ACT

                    2 stops · 8 hr 40 min · American · Operated by Skywest Airlines as American E…                    249 kg CO2
                                                                                                                       +43% emissions

                    12:40 PM         11:31 PM                                                                                         $523
                    SFO              ACT

                    1 stop · 8 hr 51 min · American · Operated by Skywest Airlines as American Ea…                    193 kg CO2
                                                                                                                       +11% emissions

                    12:20 PM         11:31 PM                                                                                         $910
                    SFO              ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   3/15
12/14/22, 1:21 PM                       Case 1:23-cv-00822-ADA Document
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                                                                                 Waco Regional     12/22/22
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                                                                                                       | Google Flights


                    2 stops · 9 hr 11 min · Alaska, American · Operated by Skywest Airlines as A…                    352 kg CO2
                                                                                                                     +102% emissions

                    11:45 AM         11:31 PM                                                                                         $554
                    SFO              ACT

                    2 stops · 9 hr 46 min · American · Operated by Skywest Airlines as American E…                    275 kg CO2
                                                                                                                       +58% emissions

                    11:45 AM         11:31 PM                                                                                         $554
                    SFO              ACT

                    2 stops · 9 hr 46 min · American · Operated by Skywest Airlines as American E…                    249 kg CO2
                                                                                                                       +43% emissions

                    11:45 AM         11:31 PM                                                                                         $554
                    SFO              ACT

                    2 stops · 9 hr 46 min · American · Operated by Skywest Airlines as American E…                    275 kg CO2
                                                                                                                       +58% emissions

                    11:42 AM         11:31 PM                                                                                         $554
                    SFO              ACT

                    2 stops · 9 hr 49 min · American · Operated by Skywest Airlines as American E…                    255 kg CO2
                                                                                                                       +46% emissions

                    11:42 AM         11:31 PM                                                                                         $554
                    SFO              ACT

                    2 stops · 9 hr 49 min · American · Operated by Skywest Airlines as American E…                    235 kg CO2
                                                                                                                       +35% emissions

                    11:42 AM         11:31 PM                                                                                         $560
                    SFO              ACT
                    2 stops · 9 hr 49 min · American · Operated by Skywest Airlines as American E…                    235 kg CO2
                                                                                                                       +35% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   4/15
12/14/22, 1:21 PM                        Case 1:23-cv-00822-ADA Document
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                                                                                                        | Google Flights



                    7:30 AM         7:35 PM                                                                                           $523
                    SFO             ACT

                    1 stop · 10 hr 5 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    7:15 AM        7:35 PM                                                                                            $522
                    SFO            ACT

                    2 stops · 10 hr 20 min · American · Operated by Skywest Airlines as American …                    238 kg CO2
                                                                                                                       +37% emissions

                    7:15 AM        7:35 PM                                                                                            $554
                    SFO            ACT

                    2 stops · 10 hr 20 min · American · Operated by Skywest Airlines as American …                    264 kg CO2
                                                                                                                       +52% emissions

                    7:15 AM        7:35 PM                                                                                            $554
                    SFO            ACT

                    2 stops · 10 hr 20 min · American · Operated by Skywest Airlines as American …                    238 kg CO2
                                                                                                                       +37% emissions

                    7:15 AM        7:35 PM                                                                                            $698
                    SFO            ACT

                    2 stops    · 10 hr 20 min · American · Operated by Skywest Airlines as Ameri…                     260 kg CO2
                                                                                                                       +49% emissions

                    10:00 AM          11:31 PM                                                                                        $555
                    SFO               ACT

                    1 stop · 11 hr 31 min · American · Operated by Skywest Airlines as American E…                    224 kg CO2
                                                                                                                       +28% emissions

                    6:00 AM         7:35 PM                                                                                           $485
                    SFO             ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   5/15
12/14/22, 1:21 PM                       Case 1:23-cv-00822-ADA Document
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                                                                                 Waco Regional     12/22/22
                                                                                               Airport               Page 7 of 16
                                                                                                       | Google Flights


                    1 stop · 11 hr 35 min · American · Operated by Skywest Airlines as American E…                    224 kg CO2
                                                                                                                       +28% emissions

                    6:00 AM         7:35 PM                                                                                           $522
                    SFO             ACT

                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    6:00 AM         7:35 PM                                                                                           $522
                    SFO             ACT

                    2 stops · 11 hr 35 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:59 PM        2:00 PM+1                                                                                         $523
                    SFO             ACT

                    1 stop · 12 hr 1 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    11:45 PM        2:00 PM+1                                                                                         $554
                    SFO             ACT

                    2 stops · 12 hr 15 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        2:00 PM+1                                                                                         $554
                    SFO             ACT

                    2 stops · 12 hr 15 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    9:00 AM         11:31 PM                                                                                          $523
                    SFO             ACT

                    1 stop · 12 hr 31 min · American · Operated by Skywest Airlines as American E…                    224 kg CO2
                                                                                                                       +28% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   6/15
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                                                                                                         | Google Flights



                    8:55 AM         11:31 PM                                                                                          $528
                    SFO             ACT

                    2 stops · 12 hr 36 min · American · Operated by Skywest Airlines as American …                    235 kg CO2
                                                                                                                       +35% emissions

                    8:55 AM         11:31 PM                                                                                          $560
                    SFO             ACT

                    2 stops · 12 hr 36 min · American · Operated by Skywest Airlines as American …                    249 kg CO2
                                                                                                                       +43% emissions

                    8:55 AM         11:31 PM                                                                                          $560
                    SFO             ACT

                    2 stops · 12 hr 36 min · American · Operated by Skywest Airlines as American …                    249 kg CO2
                                                                                                                       +43% emissions

                    10:20 PM         2:00 PM+1                                                                                        $758
                    SFO              ACT

                    2 stops · 13 hr 40 min · American · Operated by Skywest Airlines as America…                     392 kg CO2
                                                                                                                     +125% emissions

                    7:30 AM         11:31 PM                                                                                          $523
                    SFO             ACT

                    1 stop · 14 hr 1 min · American · Operated by Skywest Airlines as American Ea…                    224 kg CO2
                                                                                                                       +28% emissions

                    7:15 AM        11:31 PM                                                                                           $528
                    SFO            ACT

                    2 stops · 14 hr 16 min · American · Operated by Skywest Airlines as American …                    238 kg CO2
                                                                                                                       +37% emissions

                    7:15 AM        11:31 PM                                                                                           $560
                    SFO            ACT

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   7/15
12/14/22, 1:21 PM                        Case 1:23-cv-00822-ADA Document
                                                                 San Francisco to27-23     Filed
                                                                                  Waco Regional     12/22/22
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                                                                                                        | Google Flights


                    2 stops · 14 hr 16 min · American · Operated by Skywest Airlines as American …                    238 kg CO2
                                                                                                                       +37% emissions

                    7:15 AM        11:31 PM                                                                                           $560
                    SFO            ACT

                    2 stops · 14 hr 16 min · American · Operated by Skywest Airlines as American …                    264 kg CO2
                                                                                                                       +52% emissions

                    6:00 AM         11:31 PM                                                                                          $485
                    SFO             ACT

                    1 stop · 15 hr 31 min · American · Operated by Skywest Airlines as American E…                    224 kg CO2
                                                                                                                       +28% emissions

                    6:00 AM         11:31 PM                                                                                          $528
                    SFO             ACT
                    2 stops · 15 hr 31 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    6:00 AM         11:31 PM                                                                                          $528
                    SFO             ACT
                    2 stops · 15 hr 31 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    6:41 PM        2:00 PM+1                                                                                           $618
                    SFO            ACT

                    2 stops · 17 hr 19 min · American · Operated by Skywest Airlines as American …                    249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        2:00 PM+1                                                                                          $639
                    SFO            ACT

                    2 stops    · 17 hr 19 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   8/15
12/14/22, 1:21 PM                        Case 1:23-cv-00822-ADA Document       27-23
                                                                 San Francisco to         Filed
                                                                                  Waco Regional    12/22/22
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                                                                                                        | Google Flights



                    6:41 PM        2:00 PM+1                                                                                          $639
                    SFO            ACT
                    2 stops     · 17 hr 19 min · American · Operated by Skywest Airlines as Ameri…                    249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        2:00 PM+1                                                                                          $639
                    SFO            ACT

                    2 stops     · 17 hr 19 min · American · Operated by Skywest Airlines as Ameri…                    275 kg CO2
                                                                                                                       +58% emissions

                    6:41 PM        2:00 PM+1                                                                                          $644
                    SFO            ACT
                    2 stops · 17 hr 19 min · American · Operated by Skywest Airlines as American …                    280 kg CO2
                                                                                                                       +61% emissions

                    6:41 PM        2:00 PM+1                                                                                          $648
                    SFO            ACT

                    2 stops     · 17 hr 19 min · American · Operated by Skywest Airlines as Ameri…                    270 kg CO2
                                                                                                                       +55% emissions

                    11:59 PM        7:35 PM+1                                                                                         $523
                    SFO             ACT
                    1 stop · 17 hr 36 min · American · Operated by Skywest Airlines as American E…                    224 kg CO2
                                                                                                                       +28% emissions

                    6:10 PM         2:00 PM+1                                                                                         $523
                    SFO             ACT
                    1 stop     · 17 hr 50 min · American · Operated by Skywest Airlines as Americ…                    224 kg CO2
                                                                                                                       +28% emissions

                    11:45 PM         7:35 PM+1                                                                                        $560
                    SFO              ACT
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   9/15
12/14/22, 1:21 PM                       Case 1:23-cv-00822-ADA Document       27-23
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                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        7:35 PM+1                                                                                         $560
                    SFO             ACT
                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        7:35 PM+1                                                                                          $618
                    SFO             ACT
                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        7:35 PM+1                                                                                         $673
                    SFO             ACT

                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        7:35 PM+1                                                                                         $681
                    SFO             ACT

                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    11:45 PM        7:35 PM+1                                                                                         $681
                    SFO             ACT
                    2 stops · 17 hr 50 min · American · Operated by Skywest Airlines as America…                     352 kg CO2
                                                                                                                     +102% emissions

                    2:57 PM        2:00 PM+1                                                                                          $528
                    SFO            ACT
                    2 stops    · 21 hr 3 min · American · Operated by Skywest Airlines as Americ…                     235 kg CO2
                                                                                                                       +35% emissions


https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   10/15
12/14/22, 1:21 PM                        Case 1:23-cv-00822-ADA Document       27-23
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                    2:57 PM        2:00 PM+1                                                                                           $618
                    SFO            ACT

                    2 stops    · 21 hr 3 min · American · Operated by Skywest Airlines as Americ…                     255 kg CO2
                                                                                                                       +46% emissions

                    2:57 PM        2:00 PM+1                                                                                          $794
                    SFO            ACT
                    2 stops    · 21 hr 3 min · American · Operated by Skywest Airlines as Americ…                     255 kg CO2
                                                                                                                       +46% emissions

                    2:57 PM        2:00 PM+1                                                                                          $794
                    SFO            ACT

                    2 stops    · 21 hr 3 min · American · Operated by Skywest Airlines as Americ…                     255 kg CO2
                                                                                                                       +46% emissions

                    2:00 PM         2:00 PM+1                                                                                         $523
                    SFO             ACT
                    1 stop    · 22 hr · American · Operated by Skywest Airlines as American Eagle                     224 kg CO2
                                                                                                                       +28% emissions

                    6:41 PM        7:35 PM+1                                                                                           $618
                    SFO            ACT
                    2 stops · 22 hr 54 min · American · Operated by Skywest Airlines as American …                    249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        7:35 PM+1                                                                                          $639
                    SFO            ACT
                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        7:35 PM+1                                                                                          $639
                    SFO            ACT
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   11/15
12/14/22, 1:21 PM                        Case 1:23-cv-00822-ADA Document       27-23
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                                                                                  Waco Regional    12/22/22
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                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions

                    6:41 PM        7:35 PM+1                                                                                          $639
                    SFO            ACT
                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        7:35 PM+1                                                                                          $644
                    SFO            ACT

                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     256 kg CO2
                                                                                                                       +47% emissions

                    6:41 PM        7:35 PM+1                                                                                          $644
                    SFO            ACT
                    2 stops · 22 hr 54 min · American · Operated by Skywest Airlines as American …                    280 kg CO2
                                                                                                                       +61% emissions

                    6:41 PM        7:35 PM+1                                                                                          $644
                    SFO            ACT

                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions

                    6:41 PM        7:35 PM+1                                                                                          $644
                    SFO            ACT
                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     249 kg CO2
                                                                                                                       +43% emissions

                    6:41 PM        7:35 PM+1                                                                                          $644
                    SFO            ACT
                    2 stops    · 22 hr 54 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions

https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   12/15
12/14/22, 1:21 PM                       Case 1:23-cv-00822-ADA Document       27-23
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                    12:40 PM         2:00 PM+1                                                                                        $523
                    SFO              ACT
                    1 stop    · 23 hr 20 min · American · Operated by Skywest Airlines as Americ…                     193 kg CO2
                                                                                                                       +11% emissions

                    6:10 PM        7:35 PM+1                                                                                          $523
                    SFO            ACT

                    1 stop    · 23 hr 25 min · American · Operated by Skywest Airlines as Americ…                     224 kg CO2
                                                                                                                       +28% emissions

                    11:45 AM        2:00 PM+1                                                                                          $618
                    SFO             ACT
                    2 stops    · 24 hr 15 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions

                    11:45 AM        2:00 PM+1                                                                                          $618
                    SFO             ACT

                    2 stops    · 24 hr 15 min · American · Operated by Skywest Airlines as Ameri…                     275 kg CO2
                                                                                                                       +58% emissions

                    11:42 AM        2:00 PM+1                                                                                         $560
                    SFO             ACT

                    2 stops    · 24 hr 18 min · American · Operated by Skywest Airlines as Ameri…                     235 kg CO2
                                                                                                                       +35% emissions

                    10:00 AM          2:00 PM+1                                                                                        $613
                    SFO               ACT

                    1 stop    · 26 hr · American · Operated by Skywest Airlines as American Eagle                     224 kg CO2
                                                                                                                       +28% emissions

                    9:00 AM         2:00 PM+1                                                                                         $523
                    SFO             ACT
https://www.google.com/travel/flights/search?tfs=CBwQAhokagcIARIDU0ZPEgoyMDIyLTEyLTMwcg0IAhIJL20vMDZxMThocAGCAQsI____________AUABSAGYAQI&tfu=EgYIBRABGAA&hl=en&authuser=0   13/15
12/14/22, 1:21 PM                       Case 1:23-cv-00822-ADA Document       27-23
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                                                                                 Waco Regional    12/22/22
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                    1 stop     · 27 hr · American · Operated by Skywest Airlines as American Eagle                    224 kg CO2
                                                                                                                       +28% emissions

                    2:00 PM          7:35 PM+1                                                                                        $523
                    SFO              ACT

                    1 stop     · 27 hr 35 min · American · Operated by Skywest Airlines as Americ…                    224 kg CO2
                                                                                                                       +28% emissions

                    7:30 AM          2:00 PM+1                                                                                        $523
                    SFO              ACT
                    1 stop     · 28 hr 30 min · American · Operated by Skywest Airlines as Americ…                    224 kg CO2
                                                                                                                       +28% emissions

                    12:40 PM          7:35 PM+1                                                                                       $523
                    SFO               ACT

                    1 stop     · 28 hr 55 min · American · Operated by Skywest Airlines as Americ…                    193 kg CO2
                                                                                                                       +11% emissions

                    6:00 AM          2:00 PM+1                                                                                        $485
                    SFO              ACT

                    1 stop     · 30 hr · American · Operated by Skywest Airlines as American Eagle                    224 kg CO2
                                                                                                                       +28% emissions

                    10:00 AM          7:35 PM+1                                                                                        $613
                    SFO               ACT
                    1 stop     · 31 hr 35 min · American · Operated by Skywest Airlines as Americ…                    224 kg CO2
                                                                                                                       +28% emissions

                          Hide 71 flights




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               Language​· English (United States)                            Location​· United States                         Currency​· USD


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